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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                      )
 In re:                                                               )   Chapter 11
                                                                      )
 CELSIUS NETWORK LLC, et al.,1                                        )   Case No. 22-10964 (MG)
                                                                      )
                                             Debtors.                 )   (Jointly Administered)
                                                                      )

                                                     AFFIDAVIT OF SERVICE

       I, Janira N. Sanabria, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

       On August 14, 2023, at my direction and under my supervision, employees of Stretto
caused the following documents to be served via first-class mail on the service list attached hereto
as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

     •     Second Notice of Filing of Plan Supplement (Docket No. 3273)

     •     Notice of Filing of Disclosure Statement Hearing Presentation (Docket No. 3274)

     •     Notice of Filing of Revised Exhibits to Proposed Order (I) Approving the Adequacy
           of the Debtors’ Disclosure Statement, (II) Approving the Solicitation and Voting
           Procedures With Respect to Confirmation of the Debtors’ Joint Plan of
           Reorganization, (III) Approving the Form of Ballots and Notices in Connection
           Therewith, (IV) Scheduling Certain Dates With Respect Thereto, (V) Authorizing
           and Approving Reimbursement of Certain of the Plan Sponsor’s Fees and Expenses,
           and (VI) Granting Related Relief (Docket No. 3275)

     •     Amended Agenda for Hearing to Be Held August 14, 2023, at 10:00 A.M. (Prevailing
           Eastern Time) (Docket No. 3276)

     •     Order (I) Approving the Settlement by and Among the Debtors and the Committee
           with Respect to the Committee Class Claim and (II) Granting Related Relief
           (Docket No. 3288)

     •     Joint Stipulation and Agreed Order Between the Federal Trade Commission and the
           Debtors to Enter into Stipulated Order in the District Court (Docket No. 3289)

     •     Notice of Consensual Resolutions of Government Investigations (Docket No. 3293)
__________________________________________________
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (0143); Celsius Networks Lending LLC (3390);
and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal place of business and
the Debtors’ service address in these chapter 11 cases is 50 Harrison St, Suite 209F, Hoboken, New Jersey 07030.
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        Furthermore, on August 14, 2023, at my direction and under my supervision, employees
of Stretto caused the following documents to be served via first-class mail on the service list
attached hereto as Exhibit C, and via electronic mail on the service list attached hereto as
Exhibit D:

   •   Third Interim Fee Application of Ernst & Young LLP for Compensation for Services
       Rendered and Reimbursement of Expenses as Tax Compliance, Tax Advisory and
       Financial Accounting Advisory Services Provider for the Time Period March 1, 2023
       Through June 30, 2023 (Docket No. 3280)

   •   Combined Fifth Monthly Fee Statement of Ernst & Young LLP for Compensation
       for Services Rendered and Reimbursement of Expenses as Tax Compliance, Tax
       Advisory Services and Financial Accounting Advisory Services Provider for the Time
       Period May 1, 2023 Through June 30, 2023 (Docket No. 3290)

   •   Third Interim Fee Application of Akin Gump Strauss Hauer & Feld LLP as Special
       Litigation Counsel to the Debtors and Debtors in Possession for Allowance of
       Compensation for Services Rendered and Reimbursement of Expenses for the Period
       March 1, 2023 Through and Including June 30, 2023 (Docket No. 3291)

   •   Third Interim Application of Latham & Watkins LLP for Compensation for Services
       and Reimbursement of Expenses Incurred as Special Counsel to the Debtors for The
       Period from March 1, 2023 Through May 31, 2023 (Docket No. 3292)

   •   Second Monthly Fee Statement of Services Rendered by KE Andrews as Property
       Tax Service Providers for the Debtors and Debtors in Possession, for Compensation
       for This Period from June 1, 2023 Through and Including June 30, 2023
       (Docket No. 3297)

   •   Third Monthly Fee Statement of Services Rendered by KE Andrews as Property Tax
       Service Providers for the Debtors and Debtors in Possession, for Compensation for
       This Period from July 1, 2023 Through and Including July 31, 2023 (Docket No. 3299)

   •   First Interim Fee Application of KE Andrews as Property Tax Service Providers for
       the Debtors and Debtors in Possession, for Interim Allowance of Compensation for
       Professional Services Rendered from March 6, 2023 Through and Including June 30,
       2023 (Docket No. 3301)

   •   Third Application of Alvarez & Marsal North America, LLC as Financial Advisors
       for the Debtors, for Interim Allowance of Compensation for Professional Services
       Rendered and Reimbursement of Actual and Necessary Expenses Incurred from
       March 1, 2023 Through and Including June 30, 2023 (Docket No. 3302)



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                               Exhibit A
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                                                                                                            Exhibit A
                                                                                                      Served via First-Class Mail



                        NAME                               ATTENTION                                   ADDRESS 1                                    ADDRESS 2                      CITY   STATE    ZIP          COUNTRY
    AD HOC GROUP CUSTODIAL ACCT HOLDERS   C/O TOGUT SEGAL & SEGAL LLP                  ONE PENN PLAZA SUITE 3335                    ATTN: KYLE ORTIZ & BRYAN KOTLIAR      NEW YORK        NY    10119
    AD HOC GROUP EARN ACCOUNT HOLDERS     C/O OFFIT KURMAN P.A.                        590 MADISON AVE 6TH FLOOR                    ATTN: JASON A. NAGI                   NEW YORK        NY    10022
    AD HOC GROUP EARN ACCOUNT HOLDERS     C/O OFFIT KURMAN P.A.                        ATTN: JOYCE A. KUHNS                         7021 COLUMBIA GATEWAY DR STE 200      COLUMBIA        MD    21046-2967
    ADHOC GROUP WITHHOLD ACCOUNT HOLDER   C/O TROUTMAN PEPPER HAMILTON SANDER          4000 TOWN CENTER SUITE 1800                  ATTN: DEBORAH KOVSKY-APAP             SOUTHFIELD      MI    48075
    ADRIAN PEREZ-SIAM                     C/O DUANE MORRIS LLP                         30 S. 17TH STREET                            ATTN: L KOTLER & M BATES              PHILADELPHIA    PA    19103-4196
    AK OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       1031 W 4TH AVE SUITE 200                                                           ANCHORAGE       AK    99501
    AL OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       501 WASHINGTON AVE                                                                 MONTGOMERY      AL    36104
    ALAMEDA RESEARCH LLC                  C/O SULLIVAN & CROMWELL LLP                  125 BROAD ST                                 ATTN: ANDREW G. DIETDERICH            NEW YORK        NY    10004
    ALEX MASHINSKY                                                                     ON FILE
    ALTCOINTRADER (PTY) LTD               ATTN: LEGAL DEPARTMENT                       229 ONTDEKKERS RD HORIZON                                                          ROODEPOORT            01724      SOUTH AFRICA
    AM VENTURES HOLDINGS INC.             C/O RUSKIN MOSCOU FALTISCHEK P.C.            ATTN: SHERYL P. GIUGLIANO                    1425 RXR PLAZA 15TH FLOOR             UNIONDALE       NY    11556-1425
    AMTRUST NA INC ASSOC IND INS CO INC   C/O MAURICE WUTSCHER LLP                     5 WALTER FORAN BLVD SUITE 2007               ATTN: THOMAS R. DOMINCZYK             FLEMINGTON      NJ    08822
    ANABELLE DIAS                         C/O MCCARTER & ENGLISH LLP                   825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK        NY    10019
    AR OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       323 CENTER ST SUITE 200                                                            LITTLE ROCK     AR    72201
    AZ OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       2005 N CENTRAL AVE                                                                 PHOENIX         AZ    85004
    B2C2 LTD                              ATTN: LEGAL DEPT                             86-90 PAUL ST                                                                      LONDON                EC2A 4NE UNITED KINGDOM
    BAKER DOMINIC JOHN                                                                 ON FILE
    BLOCKCHAIN RECOVRY INVST CONSORTIUM   C/O WILLKIE FARR & GALLACHER LLP             ATTN: BRIAN S. LENNON                        787 SEVENTH AVENUE                    NEW YORK        NY    10019
    BLOCKDAEMON INC.                      ATTN: LEGAL DEPT                             1055 WEST 7TH STREET                                                               LOS ANGELES     CA    90017
    BRANDON VOSS                          ATTN: STUART P. GELBERG ESQ.                 600 OLD COUNTRY ROAD SUITE 410                                                     GARDEN CITY     NY    11530
    CA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       PO BOX 944255                                                                      SACRAMENTO      CA    94244-2550
    CHANG RICKIE                                                                       ON FILE
    CHRISTOPHER J. LITTLE                 C/O MCCARTER & ENGLISH LLP                   825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK        NY    10019
    CIMO MICHAEL                                                                       ON FILE
    CLINT PETTY                           ATTN: STUART P. GELBERG                      600 OLD COUNTRY RD SUITE 410                                                       GARDEN CITY     NY    11530
    CO OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       1300 BROADWAY 10TH FLOOR                     RALPH L. CARR JUDICIAL BUILDING       DENVER          CO    80203
    COMMONWEALTH OF PA DEPT OF REVENUE    C/O PA OFFICE OF ATTORNEY GENERAL            15TH FLOOR STRAWBERRY SQUARE                 MELISSA L VAN ECK CHIEF DEPUTY AG     HARRISBURG      PA    17120
    COMMUNITY FIRST PARTNERS LLC ET AL.   C/O MILBANK LLP                              1850 K ST NW SUITE 1100                      ATTN: LEBLANC WESTOVER YANEZ WOLF     WASHINGTON      DC    20006
    COMMUNITY FIRST PARTNERS LLC ET AL.   C/O MILBANK LLP                              55 HUDSON YARDS                              ATTN: DUNNE ALMEIDA FELL MILLER       NEW YORK        NY    10001
    CONFIDENTIAL CREDITOR                                                              ON FILE
    CORE SCIENTIFIC INC.                  C/O WEIL GOTSHAL & MANGES LLP                767 FIFTH AVE                                ATTN: SCHROCK LENDER & BERKOVICH      NEW YORK        NY    10153
    COVARIO AG                            ATTN: LEGAL DEPARTMENT                       LANDYS GYR STRASSE 1                                                               ZUG                   CH-6300    SWITZERLAND
    COVARIO AG                            C/O MLAW BIRGIT URBONS                       ATTN: BIRGIT URBONS                          BANKRUPTCY OFFICE ZUG                 ZUG                   06301      SWITZERLAND
    CRED INC. LIQUIDATION TRUST           C/O MCDERMOTT WILL & EMERY LLP               333 SE 2ND AVE SUITE 4500                    ATTN: GREGG STEINMAN                  MIAMI           FL    33131-2184
    CRED INC. LIQUIDATION TRUST           C/O MCDERMOTT WILL & EMERY LLP               ONE VANDERBILT AVE                           ATTN: DARREN AZMAN                    NEW YORK        NY    10017-3852
    CRYPTO10 SP -SEGREGATED PORTFOLIO     ATTN: LEGAL DEPARTMENT                       1ST FLOOR ARTEMIS HOUSE 67 FORT ST                                                 GEORGE TOWN           KY1-1102 CAYMAN ISLANDS
    CT OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       165 CAPITOL AVE                                                                    HARTFORD        CT    06106
    DC OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       400 6TH STREET NW                                                                  WASHINGTON      DC    20001
    DEFERRED 1031 EXCHANGE LLC            ATTN: LEGAL DEPARTMENT                       LAKELAND AVE.                                                                      DOVER           DE    19901
    DEKKER CARLOS C                                                                    ON FILE
    DELAWARE DEPARTMENT OF JUSTICE        ATTN: LEGAL DEPARTMENT                       820 N FRENCH ST                              CARVEL STATE OFFICE BUILDING          WILMINGTON      DE    19801
    DENTZEL ZARYN                                                                      ON FILE
    DIANA THANT & NATAKOM CHULAMORKODT    C/O MEYER SUOZZI ENGLISH & KLEIN             1350 BROADWAY SUITE 1420                     ATTN: JORDAN WEISS                    NEW YORK        NY    10018
    DIFIORE THOMAS ALBERT                                                              ON FILE
    DIXON SIMON                                                                        ON FILE
    DOIT INTERNATIONAL                    ATTN: LEGAL DEPARTMENT                       DAVID ELAZAR 12                                                                    TEL AVIV                           ISRAEL
    DOWNS BRADLEY JAMES                                                                ON FILE
    DR. ASHRAF ELSHAFEI                   C/O ARENTFOX SCHIFF LLP                      1301 AVENUE OF THE AMERICAS 42ND FL          ATTN: JEFFREY GLEIT & ALLISON WEISS   NEW YORK        NY    10019
    ELIE SIMON                                                                         ON FILE
    EMIL PILACIK & EMCO TECHNOLOGY        ATTN: WILLIAM D. SCHROEDER JR.               920 LENMAR DR                                                                      BLUE BELL       PA    19422
    ERAN TROMER                                                                        ON FILE
    ERAN TROMER                                                                        ON FILE
    FAHRENHEIT LLC                        C/O BROWN RUDNICK LLP                        ONE FINANCIAL CENTER                         ATTN: SHARI DWOSKIN MATTHEW SAWYER    BOSTON          MA    02111
    FAHRENHEIT LLC                        C/O BROWN RUDNICK LLP                        SEVEN TIMES SQUARE                           ATTN: ANDREW M. CARTY                 NEW YORK        NY    10036
    FARR NICHOLAS                                                                      ON FILE
    FEDERAL TRADE COMMISSION              ATTN: K. JOHNSON & K. AIZPURU                600 PENNSYLVANIA AVE NW                      MAIL STOP CC-9528                     WASHINGTON      DC    02058
    FEE EXAMINER CHRISTOPHER S. SONTCHI   C/O GODFREY & KAHN S.C.                      ONE EAST MAIN STREET SUITE 500               ATTN: KATHERINE STADLER               MADISON         WI    53703
    G. E. EHRLICH (1995) LTD.             ATTN: LEGAL DEPT                             THE ROGOVIN-TIDHAR TOWER 15TH FLOOR          11 MENACHEM BEGIN ROAD                RAMAT-GAN             5268104    ISRAEL
    GA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       40 CAPITOL SQ SW                                                                   ATLANTA         GA    30334
    GALAXY DIGITAL TRADING LLC            C/O ORRICK HERRINGTON & SUTCLIFFE            51 W 52ND ST                                 ATTN: RANIERO D’AVERSA                NEW YORK        NY    10019-6142
    GUBERMAN CONSULTING                   ATTN: LEGAL DEPT                             12 YAD HARUTZIM RD                                                                 TEL- AVIV                        ISRAEL
    HARRISON SCHOENAU                     C/O KLEINBERG KAPLAN WOLFF & COHEN           ATTN: MATTHEW GOLD & DOV KLEINER             500 FIFTH AVENUE                      NEW YORK        NY    10110
    HI OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       425 QUEEN ST                                                                       HONOLULU        HI    96813
    ICB SOLUTIONS                                                                      ON FILE
    ID OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       700 W JEFFERSON ST STE 210                   PO BOX 83720                          BOISE           ID    83720
    IGNAT TUGANOV                         C/O VENABLE LLP                              151 W 42ND ST FL 4R                          ATTN: SABIN LEVY & PELED              NEW YORK        NY    10036-6635
    IGNAT TUGANOV                         C/O VENABLE LLP                              600 MASSACHUSETTS AVE NW                     ATTN: ANDREW J. CURRIE                WASHINGTON      DC    20001
    IL OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       100 W RANDOLPH ST                            JAMES R. THOMPSON CENTER              CHICAGO         IL    60601
    ILLUMITI CORP SYNTAX SYSTEMS USA LP   C/O SILLS CUMMIS & GROSS PC                  ONE RIVERFRONT PLAZA                         ATTN: GREGORY A. KOPACZ               NEWARK          NJ    07102
    IN OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                       302 W WASHINGTON ST 5TH FLOOR                INDIANA GOVERNMENT CENTER SOUTH       INDIANAPOLIS    IN    46204
    INTERNAL REVENUE SERVICE              ATTN: LEGAL DEPARTMENT                       PO BOX 7346                                                                        PHILADELPHIA    PA    19101-7346


In re: Celsius Network LLC, et al.
Case No. 22-10964 (MG)                                                                                                                                                                                                Page 1 of 3
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                                                                                                           Exhibit A
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                       NAME                                ATTENTION                                 ADDRESS 1                                    ADDRESS 2                       CITY    STATE      ZIP          COUNTRY
    INVICTUS CAPITAL FINANCIAL TECH       ATTN: LEGAL DEPARTMENT                      67 FORT ST                                                                         GRAND CAYMAN             KY1-1102     CAYMAN ISLANDS
    IOWA OFFICE OF THE ATTORNEY GENERAL   ATTN: LEGAL DEPARTMENT                      1305 E WALNUT ST                             HOOVER STATE OFFICE BUILDING          DES MOINES       IA      50319
    ISRAEL INNOVATION AUTHORITY           ATTN: LEGAL DEPT                            HA'POEL 2 TECH PARK                          DERECH AGUDAT SPORT                   JERUSALEM                95102        ISRAEL
    JASON STONE AND KEYFI INC.            C/O FREEDMAN NORMAND FRIEDLAND LLP          1 SE 3RD AVE SUITE 1240                      ATTN: VEL (DEVIN) FREEDMAN            MIAMI            FL      33131
    JASON STONE AND KEYFI INC.            C/O KYLE ROCHE P.A.                         260 MADISON AVE 8TH FLOOR                    ATTN: KYLE W. ROCHE                   NEW YORK         NY      10016
    JEFFRIES DAVID                                                                    ON FILE
    JOHN DZARAN                           C/O MCCARTER & ENGLISH LLP                  825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK         NY      10019
    JOHN MARCHIONI                        C/O BLANK ROME LLP                          1271 AVENUE OF THE AMERICAS                  ATTN: EVAN J. ZUCKER                  NEW YORK         NY      10020
    JYOTI SUKHNANI                        ATTN: STUART P. GELBERG ESQ.                600 OLD COUNTRY RD SUITE 410                                                       GARDEN CITY      NY      11530
    KEITH SUCKNO                          C/O MCCARTER & ENGLISH LLP                  825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK         NY      10019
    KOALA1 LLC                            C/O RUSKIN MOSCOU FALTISCHEK P.C.           ATTN: SHERYL P. GIUGLIANO                    1425 RXR PLAZA 15TH FLOOR             UNIONDALE        NY      11556-1425
    KOHJI HIROKADO                                                                    ON FILE
    KOST FORER GABBAY & KASIERER EY GLO   ATTN: LEGAL DEPARTMENT                      144 MENACHEM BEGIN RD, 6492102,                                                    TEL AVIV                              ISRAEL
    KS OFFICE OF ATTORNEY GENERAL         ATTN: DEREK SCHMIDT                         120 SW 10TH AVE 2ND FLOOR                                                          TOPEKA           KS      66612
    KY OFFICE OF ATTORNEY GENERAL         ATTN: DANIEL CAMERON                        700 CAPITAL AVE SUITE 118                                                          FRANKFORT        KY      40601
    KYLE FARMERY                          ATTN: STUART P. GELBERG ESQ.                600 OLD COUNTRY ROAD SUITE 410                                                     GARDEN CITY      NY      11530
    LA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      300 CAPITAL DR                                                                     BATON ROUGE      LA      70802
    LISA T. VICKERS                       C/O BERLINER & PILSON ESQS                  40 CUTTERMILL RD SUITE 308                   ATTN: RICHARD J. PILSON               GREAT NECK       NY      11021
    MA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      1 ASHBURTON PLACE 20TH FLOOR                                                       BOSTON           MA      02108
    MARTIN LANGLOIS                       C/O MCCARTER & ENGLISH LLP                  825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK         NY      10019
    MATTHEW PINTO                         C/O WEIR GREENBLATT PIERCE LLP              1339 CHESTNUT STREET SUITE 500               ATTN: JS CIANCIULLI & MP BROADHURST   PHILADELPHIA     PA      19107
    MATTHEW PINTO                         C/O WEIR GREENBLATT PIERCE LLP              667 MADISON AVENUE 5TH FLOOR                 ATTN: BONNIE R. GOLUB                 NEW YORK         NY      10065
    MCCLINTOCK MICHAEL                                                                ON FILE
    MCMULLEN BRIAN                                                                    ON FILE
    MD OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      200 ST. PAUL PLACE                                                                 BALTIMORE        MD      21202
    ME OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      6 STATE HOUSE STATION                                                              AUGUSTA          ME      04333
    MI DEPARTMENT OF ATTORNEY GENERAL     ATTN: LEGAL DEPARTMENT                      525 W OTTAWA ST                                                                    LANSING          MI      48906
    MICHAEL CIMO                                                                      ON FILE
    MICHIGAN DEPARTMENT OF TREASURY       ATTN: JUANDISHA HARRIS                      3030 W GRAND BLVD SUITE 10-200               CADILLAC PLACE BUILDING               DETROIT          MI      48202
    MN OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      445 MINNESOTA ST SUITE 1400                                                        ST. PAUL         MN      55101
    MO OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      207 W HIGH ST                                SUPREME COURT BUILDING                JEFFERSON CITY   MO      65101
    MONIKA KOSA                           C/O MCCARTER & ENGLISH LLP                  825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK         NY      10019
    MS OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      550 HIGH ST PO BOX 220                       WALTER SILLERS BUILDING               JACKSON          MS      39201
    MT OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      215 N SANDERS PO BOX 201401                  JUSTICE BUILDING 3RD FLOOR            HELENA           MT      59602
    MURPHY JR THOMAS PATRICK                                                          ON FILE
    NC OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      114 W EDENTON ST                                                                   RALEIGH          NC      27603
    ND OFFICE OF ATTORNEY GENERAL         STATE CAPITOL                               600 E BOULEVARD AVE DEPT. 125                                                      BISMARCK         ND      58505
    NE OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      2115 STATE CAPITOL                                                                 LINCOLN          NE      68509
    NEOT AVIV                                                                         ON FILE
    NEW JERSEY BUREAU OF SECURITIES       C/O MCELROY DEUTSCH MULVANEY                570 BROAD ST                                 ATTN: JEFFREY BERNSTEIN               NEWARK           NJ      07102
    NEW JERSEY BUREAU OF SECURITIES       C/O MCELROY DEUTSCH MULVANEY CARPEN         225 LIBERTY ST 36TH FLOOR                    ATTN: NICOLE LEONARD                  NEW YORK         NY      10281
    NEW JERSEY BUREAU OF SECURITIES       MCELROY DEUTSCH MULVANEY CARPENTER          1300 MT. KEMBLE AVENUE PO BOX 2075           ATTN: VIRGINIA T. SHEA                MORRISTOWN       NJ      07962-2075
    NEW SPANISH RIDGE LLC ET AL.          C/O LEVIN EPSTEIN & ASSOCIATES PC           60 E 42ND ST SUITE 4700                      ATTN: JOSHUA D. LEVIN-EPSTEIN         NEW YORK         NY      10165
    NEW SPANISH RIDGE MRK SP R PREH SPR   C/O FISHERBROYLES LLP                       945 EAST PACES FERRY RD NE STE 2000          ATTN: THOMAS R. WALKER                ATLANTA          GA      30326
    NEW SPANISH RIDGE MRK SP R PREH SPR   C/O FISHERBROYLES LLP                       CSC STATION 112 SOUTH FRENCH STREET          ATTN: CARL D. NEFF                    WILMINGTON       DE      19801
    NH OFFICE OF ATTORNEY GENERAL         NH DEPARTMENT OF JUSTICE                    33 CAPITOL ST                                                                      CONCORD          NH      03301
    NHAT VAN MEYER                        C/O MEYER SUOZZI ENGLISH & KLEIN            1350 BROADWAY SUITE 1420                     ATTN: JORDAN WEISS                    NEW YORK         NY      10018
    NIKI GA MANAGEMENT MAINTENANCE LTD    ATTN: LEGAL DEPARTMENT                      23 BAR KOCHVA                                                                      BNEI BRAK                5126002    ISRAEL
    NJ OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      25 MARKET ST 8TH FL WEST WING BOX80          RICHARD J. HUGHES JUSTICE COMPLEX     TRENTON          NJ      08611
    NM OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      408 GALISTEO ST                              VILLAGRA BUILDING                     SANTA FE         NM      87501
    NOL MYER                              C/O MEYER SUOZZI ENGLISH & KLEIN            1350 BROADWAY SUITE 1420                     ATTN: JORDAN WEISS                    NEW YORK         NY      10018
    NV OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      100 N CARSON ST                              OLD SUPREME COURT BUILDING            CARSON CITY      NV      89701
    NY OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      THE CAPITOL 2ND FLOOR                                                              ALBANY           NY      12224
    OFFICE OF US TRUSTEE FOR THE SDNY     ATTN: SHARA CORNELL                         1 BOWLING GRN                                STE 534                               NEW YORK         NY      10004-1459
    OHIO OFFICE OF THE ATTORNEY GENERAL   ATTN: LEGAL DEPARTMENT                      30 E BROAD ST 14TH FLOOR                     STATE OFFICE TOWER                    COLUMBUS         OH      43215
    OK OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      313 NE 21ST ST                                                                     OKLAHOMA CITY    OK      73105
    OR OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      1162 COURT ST NE                                                                   SALEM            OR      97301-4096
    ORACLE AMERICA INC.                   C/O BUCHALTER A PROFESSIONAL CORP           425 MARKET ST SUITE 2900                     ATTN: SHAWN M. CHRISTIANSON           SAN FRANCISCO    CA      94105-3493
    PA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      STRAWBERRY SQUARE 16TH FL                                                          HARRISBURG       PA      17120
    PAOLA LEANO PERALTA                   C/O MCCARTER & ENGLISH LLP                  825 EIGHTH AVE 31ST FLOOR                    ATTN: DAVID J. ADLER                  NEW YORK         NY      10019
    PARK SEONG                                                                        ON FILE
    PERRY BRETT ALAN                                                                  ON FILE
    PETER POLOMBO                         C/O NORGAARD O’BOYLE & HANNON               184 GRAND AVE                                ATTN: HANNON & NORGAARD               ENGLEWOOD        NJ      07631
    PHAROS USD FUND SP                    ATTN: LEGAL DEPARTMENT                      LANDMARK SQ 1ST FL 64 EARTH CLOSE                                                  GRAND CAYMAN             KY-1107      CAYMAN ISLANDS
    PROPOSED LEAD PLAINTIFFS              C/O LOWENSTEIN SANDLER LLP                  1251 AVE OF THE AMERICAS 17TH FLOOR          ATTN: PHILLIP KHEZRI                  NEW YORK         NY      10020
    PROPOSED LEAD PLAINTIFFS              C/O LOWENSTEIN SANDLER LLP                  ONE LOWENSTEIN DRIVE                         ATTN: M. ETKIN & A. BEHLMANN          ROSELAND         NJ      07068
    RESOURCES CONNECTION LLC              C/O FORTIS LLP                              650 TOWN CENTER DR SUITE 1530                ATTN: PAUL R. SHANKMAN                COSTA MESA       CA      92626
    RH MONTGOMERY PROPERTIES INC.         C/O WALLER LANSDEN DORTCH & DAVIS           100 CONGRESS AVE 18TH FLOOR                  ATTN: MORRIS D. WEISS                 AUSTIN           TX      78704
    RH MONTGOMERY PROPERTIES INC.         C/O WALLER LANSDEN DORTCH & DAVIS           511 UNION ST SUITE 2700                      ATTN: TYLER N. LAYNE                  NASHVILLE        TN      37219
    RI OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      150 S MAIN ST                                                                      PROVIDENCE       RI      02903
    SAP AMERICA INC.                      C/O BROWN & CONNERY LLP                     6 N BROAD ST SUITE 100                       ATTN: JULIE F. MONTGOMERY             WOODBURY         NJ      08096


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                       NAME                                ATTENTION                                 ADDRESS 1                                   ADDRESS 2                       CITY         STATE    ZIP         COUNTRY
    SC OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      1000 ASSEMBLY ST ROOM 519                    REMBERT C. DENNIS BLDG              COLUMBIA               SC    29201
    SD OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      1302 E HIGHWAY 14 SUITE 1                                                        PIERRE                 SD    57501-8501
    SDNY US ATTORNEYS OFFICE              ATTN: LEGAL DEPARTMENT                      ONE ST. ANDREWS PLAZA                                                            NEW YORK               NY    10007
    SECURITIES & EXCHANGE COMMISSION      ATTN: LEGAL DEPARTMENT                      100 F ST NE                                                                      WASHINGTON             DC    20549
    SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE                    100 PEARL ST SUITE 20-100                                                        NEW YORK               NY    10004-2616
    SECURITIES AND EXCHANGE COMMISSION    ATTN: REGIONAL DIRECTOR                     200 VESEY ST SUITE 400                       BROOKFIELD PLACE                    NEW YORK               NY    10281-1022
    SHERFI YEHUDA CONSTRUCTION            ATTN: LEGAL DEPT                            DAM HAMACCABIM 11                                                                MODI'IN-MACCABIM-RE'UT                  ISRAEL
    SHLOMI DANIEL LEON AND ALIZA LANDES   C/O HOGAN LOVELLS US LLP                    390 MADISON AVENUE                           ATTN: PIETER VAN TOL                NEW YORK               NY    10017
    SHUFERSAL                             ATTN: LEGAL                                 30 SHMOTKIN BENYAMIN ST POB 15103                                                RISHON LE-ZION                          ISRAEL
    SIGNATURE BANK                        C/O GOETZ FITZPATRICK LLP                   ONE PENN PLAZA 31ST FLOOR                    ATTN: SCOTT D. SIMON                NEW YORK               NY    10119
    STEWART RUSSELL GARTH                                                             ON FILE
    STROBILUS LLC                                                                     ON FILE
    SYMBOLIC CAP PTNR PROFLUENT TRADING   C/O MINTZ & GOLD LLP                        600 THIRD AVENUE 25TH FLOOR                  ATTN: A. GOTTESMAN & A. SONDHI      NEW YORK              NY     10016
    TAN RICHARD                                                                       ON FILE
    TAN YAN                                                                           ON FILE
    TECHEN                                ATTN: LEGAL DEPT                            DANIEL FRISCH 3                                                                  TEL AVIV                                  ISRAEL
    TEL AVIV MUNICIPALITY                 ATTN: LEGAL DEPT                            SHLOMO IBN GABIROL ST 69                                                         TEL AVIV                                  ISRAEL
    TERRAFORM LABS PTE LTD                C/O DENTONS US LLP                          1221 AVE OF THE AMERICAS 25TH FL             SCHRAG MONTGOMERY HENKIN KORNBLAU   NEW YORK              NY     10020
    TEXAS DEPARTMENT OF BANKING           C/O OFFICE AG OF TX BKR & COLL DIV          PO BOX 12548 MC008                           ATTN: MILLIGAN RYAN BINFORD DESAI   AUSTIN                TX     78711-2548
    TEXAS STATE SECURITIES BOARD          ATTN: BINFORD MILLIGAN RYAN & DESAI         PO BOX 12548 MC 008                          BANKRUPTCY & COLLECTIONS DIVISION   AUSTIN                TX     78711-2548
    THE CAEN GROUP LLC                                                                ON FILE
    THOMAS DIFIORE                        C/O PRYOR CASHMAN LLP                       ATTN: LIEBERMAN & SILVERMAN                  7 TIMES SQUARE                      NEW YORK              NY     10036-6569
    TN DEPT OF COMMERCE & INSURANCE       C/O TN AG OFFICE BANKRUPTCY DIV             PO BOX 20207                                 ATTN: MARVIN E. CLEMENTS JR.        NASHVILLE             TN     37202-0207
    TN OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      PO BOX 20207                                                                     NASHVILLE             TN     37202-0207
    TRUSSELL MARK                                                                     ON FILE
    TX OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      300 W 15TH ST                                                                    AUSTIN                TX     78701
    TYCHALSKI GEORGE                                                                  ON FILE
    ULREY RENARD                          WADSWORTH GARBER WARNER CONRARDY PC         2580 W. MAIN ST                              ATTN: AARON A. GARBER               LITTLETON             CO     80120
    UNSECURED CREDITORS COMMITTEE         C/O SELENDY GAY ELSBERG PLLC                1290 AVENUE OF THE AMERICAS                  ATTN: SELENDY GAY & O’BRIEN         NEW YORK              NY     10104
    UNSECURED CREDITORS COMMITTEE         C/O WHITE & CASE LLP                        111 S WACKER DR SUITE 5100                   ATTN: M. ANDOLINA & G. PESCE        CHICAGO               IL     60606
    UNSECURED CREDITORS COMMITTEE         C/O WHITE & CASE LLP                        1221 AVENUE OF THE AMERICAS                  ATTN: TURETSKY, HERSHEY, WEEDMAN    NEW YORK              NY     10020
    UNSECURED CREDITORS COMMITTEE         C/O WHITE & CASE LLP                        555 S FLOWER ST SUITE 2700                   ATTN: AARON E. COLODNY              LOS ANGELES           CA     90071
    UTAH OFFICE OF THE ATTORNEY GENERAL   ATTN: SEAN D. REYES                         350 N STATE ST SUITE 230                     UTAH STATE CAPITOL COMPLEX          SALT LAKE CITY        UT     84114
    VA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      202 N NINTH ST                                                                   RICHMOND              VA     23219
    VAN LOC TRUYEN                                                                    ON FILE
    VILLINGER CHRISTOPHER                                                             ON FILE
    VINCENT THEODORE GOETTEN              C/O FISHERBROYLES LLP                       445 PARK AVE 9TH FLOOR                       ATTN: HOLLACE T. COHEN              NEW YORK              NY     10022
    VT DEPT OF FINANCIAL REGULATION       ATTN: JENNIFER ROOD                         89 MAIN ST 3RD FLOOR                                                             MONTPELIER            VT     05620
    VT OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      109 STATE ST                                                                     MONTPELIER            VT     05609
    WA DEPARTMENT OF REVENUE L&I & ES     ATTN: DINA L. YUNKER                        800 FIFTH AVE SUITE 2000                     BANKRUPTCY & COLLECTIONS UNIT       SEATTLE               WA     98104-3188
    WA DEPT OF FINANCIAL INSTITUTIONS     ATTN: STEPHEN MANNING                       PO BOX 40100                                                                     OLYMPIA               WA     98504-4010
    WA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      1125 WASHINGTON ST SE                                                            OLYMPIA               WA     98501
    WA OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      PO BOX 40100                                                                     OLYMPIA               WA     98504-00
    WI OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      17 W MAIN ST ROOM 114 EAST P                                                     MADISON               WI     53702
    WILCOX WAYLON J                                                                   ON FILE
    WV OFFICE OF ATTORNEY GENERAL         STATE CAPITOL                               1900 KANAWHA BLVD E BLDG 1 RM E-26                                               CHARLESTON            WV     25305
    WY OFFICE OF ATTORNEY GENERAL         ATTN: LEGAL DEPARTMENT                      109 STATE CAPITOL                                                                CHEYENNE              WY     82002
    XTRA MILE LTD.                        ATTN: LEGAL DEPARTMENT                      HATAMAR 75                                                                       NEVE YAMIN                   4492000      ISRAEL
    YASMINE PETTY                         ATTN: STUART P. GELBERG ESQ.                600 OLD COUNTRY ROAD SUITE 410                                                   GARDEN CITY           NY     11530
    YATES-WALKER JOSH OISIN                                                           ON FILE
    YHM TECHNOLOGY LTD                    ATTN: LEGAL DEPT                            DERECH BEGIN 132                                                                 TEL AVIV                                  ISRAEL
    YOON ANDREW                                                                       ON FILE
    ZIGLU LIMITED                         ATTN: LEGAL DEPARTMENT                      1 POULTRY                                                                        LONDON                       EC2R8EJ      UNITED KINGDOM




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                                     NAME                                               ATTENTION 1                                                  ATTENTION 2                                         EMAIL
                                                                                                                                                                                        KORTIZ@TEAMTOGUT.COM
                                                                                                                                                                                        BKOTLIAR@TEAMTOGUT.COM
                                                                                                                                                                                        DPERSON@TEAMTOGUT.COM
                                                                                                                                                                                        AODEN@TEAMTOGUT.COM
                                                                                                                                                                                        AGLAUBACH@TEAMTOGUT.COM
                                                                                                                                                                                        EBLANDER@TEAMTOGUT.COM
                                                                                                                                                                                        ARODRIGUEZ@TEAMTOGUT.COM
                                                                                                                                                                                        BKOTLIAR@TEAMTOGUT.COM
                                                                                                                                                                                        GQUIST@TEAMTOGUT.COM
 AD HOC GROUP OF CUSTODIAL ACCOUNT HOLDERS                     C/O TOGUT SEGAL & SEGAL LLP                                    ATTN: KYLE J. ORTIZ & BRYAN M. KOTLIAR                    ASTOLP@TEAMTOGUT.COM
 AD HOC GROUP OF EARN ACCOUNT HOLDERS INCLUDING IMMANUEL
 HERRMANN, NICHOLAS FARR AND BRETT PERRY                       C/O OFFIT KURMAN, P.A.                                         ATTN: JASON A. NAGI, ESQ.                                 JASON.NAGI@OFFITKURMAN.COM
 AD HOC GROUP OF EARN ACCOUNT HOLDERS INCLUDING IMMANUEL
 HERRMANN, NICHOLAS FARR AND BRETT PERRY                       C/O OFFIT KURMAN, P.A.                                         ATTN: JOYCE A. KUHNS, ESQ.                                JKUHNS@OFFITKURMAN.COM
                                                                                                                                                                                        DEBORAH.KOVSKY@TROUTMAN.COM
 AD HOC GROUP OF WITHHOLD ACCOUNT HOLDER                       C/O TROUTMAN PEPPER HAMILTON SANDERS LLP                       ATTN: DEBORAH KOVSKY-APAP                                 KAY.KRESS@TROUTMAN.COM
                                                                                                                                                                                        LJKOTLER@DUANEMORRIS.COM
 ADRIAN PEREZ-SIAM                                             C/O DUANE MORRIS LLP                                           ATTN: LAWRENCE J. KOTLER & MALCOLM M. BATES               MBATES@DUANEMORRIS.COM
 ALABAMA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                                 CONSUMERINTEREST@ALABAMAAG.GOV
                                                                                                                                                                                        DIETDERICHA@SULLCROM.COM
                                                                                                                              ATTN: ANDREW G. DIETDERICH, BRIAN D. GLUECKSTEIN, &       GLUECKSTEINB@SULLCROM.COM
 ALAMEDA RESEARCH LLC AND AFFILIATES                           C/O SULLIVAN & CROMWELL LLP                                    BENJAMIN S. BELLER                                        BELLERB@SULLCROM.COM
 ALASKA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                                  ATTORNEY.GENERAL@ALASKA.GOV
 ALEX MASHINSKY                                                                                                                                                                         ON FILE
 ALTCOINTRADER (PTY) LTD.                                                                                                                                                               RICHARD@ALTCOINTRADER.CO.ZA
 AM VENTURES HOLDINGS INC.                                     C/O RUSKIN MOSCOU FALTISCHEK, P.C.                             ATTN: SHERYL P. GIUGLIANO                                 SGIUGLIANO@RMFPC.COM
 AMTRUST NORTH AMERICA, INC. ON BEHALF OF ASSOCIATED                                                                                                                                    TDOMINCZYK@MAURICEWUTSCHER.COM
 INDUSTRIES INSURANCE COMPANY INC.                             C/O MAURICE WUTSCHER LLP                                       ATTN: THOMAS R. DOMINCZYK                                 THOMAS-DOMINCZYK-5025@ECF.PACERPRO.COM
 ANABELLE DIAS                                                 C/O MCCARTER & ENGLISH, LLP                                    ATTN: DAVID J. ADLER                                      DADLER@MCCARTER.COM
 ARIZONA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                                 CONSUMER@AZAG.GOV
 ARKANSAS OFFICE OF THE ATTORNEY GENERAL                                                                                                                                                OAG@ARKANSASAG.GOV
 B2C2 LTD                                                                                                                                                                               MIDDLEOFFICE@B2C2.COM
 BAKER, DOMINIC JOHN                                                                                                                                                                    ON FILE
 BLOCKCHAIN RECOVERY INVESTMENT CONSORTIUM                     C/O WILLKIE FARR & GALLACHER LLP                               ATTN: BRIAN S. LENNON                                     BLENNON@WILLKIE.COM
 BLOCKDAEMON INC.                                                                                                                                                                       ACCOUNTING@BLOCKDAEMON.COM
 BRANDON VOSS                                                  ATTN: STUART P. GELBERG, ESQ.                                                                                            SPG@13TRUSTEE.NET
 CALIFORNIA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                              XAVIER.BECERRA@DOJ.CA.GOV
                                                                                                                                                                                        JMANNON@AKINGUMP.COM
 CELSIUS NETWORK LIMITED AND CELSIUS KEYFI LLC                 C/O AKIN GUMP STRAUSS HAUER & FELD LLP                         ATTN: JESSICA MANNON & ELIZABETH D. SCOTT                 EDSCOTT@AKINGUMP.COM
 CELSIUS NETWORK LLC, ET AL.                                   C/O KIRKLAND & ELLIS LLP                                       ATTN: JOSHUA A. SUSSBERG                                  JSUSSBERG@KIRKLAND.COM
                                                                                                                                                                                        PATRICK.NASH@KIRKLAND.COM
 CELSIUS NETWORK LLC, ET AL.                                   C/O KIRKLAND & ELLIS LLP                                       ATTN: PATRICK J. NASH, JR. & ROSS M. KWASTENIET           ROSS.KWASTENIET@KIRKLAND.COM
 CHANG, RICKIE                                                                                                                                                                          ON FILE
 CHRISTOPHER J. LITTLE                                         C/O MCCARTER & ENGLISH, LLP                                    ATTN: DAVID J. ADLER                                      DADLER@MCCARTER.COM
 CIMO, MICHAEL                                                                                                                                                                          ON FILE
 CLINT PETTY                                                   ATTN: STUART P. GELBERG, ESQ.                                                                                            SPG@13TRUSTEE.NET
 COLORADO OFFICE OF THE ATTORNEY GENERAL                                                                                                                                                CORA.REQUEST@COAG.GOV
 COMMONWEALTH OF PENNSYLVANIA DEPARTMENT OF REVENUE            C/O PENNSYLVANIA OFFICE OF ATTORNEY GENERAL                    ATTN: MELISSA L. VAN ECK CHIEF DEPUTY AG                  MVANECK@ATTORNEYGENERAL.GOV
                                                                                                                                                                                        ALEBLANC@MILBANK.COM
                                                                                                                                                                                        MWYANEZ@MILBANK.COM
                                                                                                                                                                                        JWOLF@MILBANK.COM
 COMMUNITY FIRST PARTNERS, LLC, CELSIUS SPV INVESTORS, LP, AND                                                                ATTN: ANDREW M. LEBLANC, MELANIE WESTOVER YANEZ,          SVORA@MILBANK.COM
 CELSIUS NEW SPV INVESTORS, LP                                 C/O MILBANK LLP                                                JULIE M. WOLF, SAMIR L. VORA, & DANIELLE S. LEE           DLEE@MILBANK.COM
                                                                                                                                                                                        DDUNNE@MILBANK.COM
                                                                                                                                                                                        NALMEIDA@MILBANK.COM
                                                                                                                                                                                        AMILLER@MILBANK.COM
 COMMUNITY FIRST PARTNERS, LLC, CELSIUS SPV INVESTORS, LP, AND                                                                ATTN: DENNIS F. DUNNE, NELLY ALMEIDA, ATARA MILLER,       KFELL@MILBANK.COM
 CELSIUS NEW SPV INVESTORS, LP                                 C/O MILBANK LLP                                                KATHERINE FELL, & ALEXANDER B. LEES                       ALEES@MILBANK.COM
 CONNECTICUT OFFICE OF THE ATTORNEY GENERAL                                                                                                                                             ATTORNEY.GENERAL@CT.GOV
                                                                                                                                                                                        RAY.SCHROCK@WEIL.COM
                                                                                                                              ATTN: RAY C. SCHROCK, P.C., DAVID J. LENDER, & RONIT J.   DAVID.LENDER@WEIL.COM
 CORE SCIENTIFIC, INC.                                         C/O WEIL GOTSHAL & MANGES LLP                                  BERKOVICH                                                 RONIT.BERKOVICH@WEIL.COM
 COVARIO AG                                                    C/O MLAW BIRGIT URBONS                                         ATTN: BIRGIT URBONS                                       BIRGIT.URBONS@ZG.CH
                                                                                                                                                                                        CELSIUSBANKRUPTCY@COVAR.IO
 COVARIO AG                                                                                                                                                                             MARK.BANNER@COVAR.IO


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                                     NAME                                      ATTENTION 1                                                   ATTENTION 2                                     EMAIL
                                                                                                                                                                          DAZMAN@MWE.COM
                                                                                                                                                                          MCO@MWE.COM
 CRED INC. LIQUIDATION TRUST                             C/O MCDERMOTT WILL & EMERY LLP                               ATTN: DARREN AZMAN                                  CGREER@MWE.COM
 CRED INC. LIQUIDATION TRUST                             C/O MCDERMOTT WILL & EMERY LLP                               ATTN: GREGG STEINMAN                                GSTEINMAN@MWE.COM
 CRYPTO10 SP -SEGREGATED PORTFOLIO OF INVICTUS CAPITAL                                                                                                                    C10_SPC@INVICTUSCAPITAL.COM
 FINANCIAL TECHNOLOGIES SPC                                                                                                                                               DANIEL@INVICTUSCAPITAL.COM
 DEFERRED 1031 EXCHANGE, LLC                                                                                                                                              CIADONISI@DEFERRED1031.COM
 DEKKER, CARLOS C                                                                                                                                                         ON FILE
                                                                                                                                                                          ATTORNEY.GENERAL@STATE.DE.US
 DELAWARE DEPARTMENT OF JUSTICE                                                                                                                                           ATTORNEY.GENERAL@DELAWARE.GOV
 DENTZEL, ZARYN                                                                                                                                                           ON FILE
 DIANA THANT AND NATAKOM CHULAMORKODT                    C/O MEYER, SUOZZI, ENGLISH & KLEIN, PC                       ATTN: JORDAN D. WEISS                               JWEISS@MSEK.COM
 DIFIORE, THOMAS ALBERT                                                                                                                                                   ON FILE
 DISTRICT OF COLUMBIA OFFICE OF THE ATTORNEY GENERAL                                                                                                                      OAG@DC.GOV
 DIXON, SIMON                                                                                                                                                             ON FILE
 DOWNS, BRADLEY JAMES                                                                                                                                                     ON FILE
                                                                                                                                                                          JEFFREY.GLEIT@AFSLAW.COM
                                                                                                                                                                          ALLISON.WEISS@AFSLAW.COM
                                                                                                                                                                          LISA.INDELICATO@AFSLAW.COM
 DR. ASHRAF ELSHAFEI                                     C/O ARENTFOX SCHIFF LLP                                      ATTN: JEFFREY R. GLEIT & ALLISON H. WEISS           ALYSSA.FIORENTINO@AFSLAW.COM
 ELIE SIMON                                                                                                                                                               ON FILE
                                                                                                                                                                          SCHROEDER@JRLAW.ORG
 EMIL PILACIK, JR. AND EMCO TECHNOLOGY, INC.             ATTN: WILLIAM D. SCHROEDER, JR.                                                                                  HEALEY@JRLAW.ORG
 ERAN TROMER                                                                                                                                                              ON FILE
 FARR, NICHOLAS                                                                                                                                                           ON FILE
                                                                                                                                                                          KJOHNSON3@FTC.GOV
 FEDERAL TRADE COMMISSION                                ATTN: KATHERINE JOHNSON & KATHERINE AIZPURU                                                                      KAIZPURU@FTC.GOV
 FEE EXAMINER, CHRISTOPHER S. SONTCHI                    C/O GODFREY & KAHN, S.C.                                     ATTN: KATHERINE STADLER                             KSTADLER@GKLAW.COM
 FEINTISCH, ADAM MICHAEL                                                                                                                                                  ON FILE
 FITE, JACOB BENJAMIN                                                                                                                                                     ON FILE
 FLORIDA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                   ASHLEY.MOODY@MYFLORIDALEGAL.COM
 G. E. EHRLICH (1995) LTD.                                                                                                                                                INFO@IPATENT.CO.IL
 GALAXY DIGITAL TRADING LLC                              C/O ORRICK HERRINGTON & SUTCLIFFE LLP                        ATTN: RANIERO D’AVERSA, JR., ESQ.                   OHSCELSIUSNOTICE@ORRICK.COM
 GEORGIA OFFICE OF THE ATTORNEY GENERAL                  BERNADETT ROSSZER FIGUEROA                                                                                       BROSSZER@LAW.GA.GOV
 GUBERMAN CONSULTING                                                                                                                                                      INFO@GUBERMAN.CO.IL
                                                                                                                                                                          MGOLD@KKWC.COM
 HARRISON SCHOENAU                                       C/O KLEINBERG, KAPLAN, WOLFF & COHEN, P.C.                   ATTN: MATTHEW J. GOLD & DOV R. KLEINER              DKLEINER@KKWC.COM
 HAWAII OFFICE OF THE ATTORNEY GENERAL                                                                                                                                    ATG.CED@HAWAII.GOV
 ICB SOLUTIONS                                                                                                                                                            ON FILE
 IDAHO OFFICE OF THE ATTORNEY GENERAL                                                                                                                                     STEPHANIE.GUYON@AG.IDAHO.GOV
 IGNAT TUGANOV                                           C/O VENABLE LLP                                              ATTN: ANDREW J. CURRIE                              AJCURRIE@VENABLE.COM
                                                                                                                                                                          JSSABIN@VENABLE.COM
                                                                                                                      ATTN: JEFFREY S. SABIN, CAROL WEINER LEVY, & ARIE   CWEINERLEVY@VENABLE.COM
 IGNAT TUGANOV                                           C/O VENABLE LLP                                              PELED                                               APELED@VENABLE.COM
 ILLINOIS OFFICE OF THE ATTORNEY GENERAL                                                                                                                                  INFO@LISAMADIGAN.ORG
 ILLUMITI CORP A/K/A SYNTAX SYSTEMS USA LP               C/O SILLS CUMMIS & GROSS PC                                  ATTN: GREGORY A. KOPACZ                             GKOPACZ@SILLSCUMMIS.COM
                                                                                                                                                                          C20_SPC@INVICTUSCAPITAL.COM
 INVICTUS CAPITAL FINANCIAL TECHNOLOGIES SPC                                                                                                                              DANIEL@INVICTUSCAPITAL.COM
 IOWA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                      CONSUMER@AG.IOWA.GOV
 ISRAEL INNOVATION AUTHORITY                                                                                                                                              CONTACTUS@INNOVATIONISRAEL.ORG.IL
 JASON STONE AND KEYFI INC.                              C/O FREEDMAN NORMAND FRIEDLAND LLP                           ATTN: VEL (DEVIN) FREEDMAN                          VEL@FNF.LAW
 JASON STONE AND KEYFI INC.                              C/O KYLE ROCHE P.A.                                          ATTN: KYLE W. ROCHE, ESQ.                           KYLE@KYLEROCHE.LAW
 JEFFRIES, DAVID                                                                                                                                                          ON FILE
 JOHN DZARAN                                             C/O MCCARTER & ENGLISH, LLP                                  ATTN: DAVID J. ADLER                                DADLER@MCCARTER.COM
                                                                                                                                                                          EVAN.ZUCKER@BLANKROME.COM
 JOHN MARCHIONI                                          C/O BLANK ROME LLP                                           ATTN: EVAN J. ZUCKER                                EDOCKETING@BLANKROME.COM
 JYOTI SUKHNANI                                          ATTN: STUART P. GELBERG, ESQ.                                                                                    SPG@13TRUSTEE.NET
 KANSAS OFFICE OF THE ATTORNEY GENERAL                   ATTN: ATTORNEY GENERAL DEREK SCHMIDT                                                                             DEREK.SCHMIDT@AG.KS.GOV
 KEITH SUCKNO                                            C/O MCCARTER & ENGLISH, LLP                                  ATTN: DAVID J. ADLER                                DADLER@MCCARTER.COM
 KIBLER-MELBY, CORT                                                                                                                                                       ON FILE
 KIESER, GREGORY ALLEN                                                                                                                                                    ON FILE
 KOALA1, LLC                                             C/O RUSKIN MOSCOU FALTISCHEK, P.C.                           ATTN: SHERYL P. GIUGLIANO                           SGIUGLIANO@RMFPC.COM
 KOHJI, HIROKADO                                                                                                                                                          ON FILE
 KYLE FARMERY                                            ATTN: STUART P. GELBERG, ESQ.                                                                                    SPG@13TRUSTEE.NET
 LOUISIANA OFFICE OF THE ATTORNEY GENERAL                DEPARTMENT OF JUSTICE                                                                                            ADMININFO@AG.STATE.LA.US
 LYLLOFF, SANDER                                                                                                                                                          ON FILE


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                            NAME                                                        ATTENTION 1                                                  ATTENTION 2                                       EMAIL
 MAINE OFFICE OF THE ATTORNEY GENERAL                                                                                                                                               ATTORNEY.GENERAL@MAINE.GOV
 MARTIN LANGLOIS                                                 C/O MCCARTER & ENGLISH, LLP                                  ATTN: DAVID J. ADLER                                  DADLER@MCCARTER.COM
 MARYLAND OFFICE OF THE ATTORNEY GENERAL                                                                                                                                            OAG@OAG.STATE.MD.US
 MATTHEW PINTO                                                   C/O WEIR GREENBLATT PIERCE LLP                               ATTN: BONNIE R. GOLUB                                 BGOLUB@WGPLLP.COM
                                                                                                                                                                                    JCIANCIULLI@WGPLLP.COM
 MATTHEW PINTO                                                   C/O WEIR GREENBLATT PIERCE LLP                               ATTN: JEFFREY S. CIANCIULLI & MICHAEL P. BROADHURST   MBROADHURST@WGPLLP.COM
 MCCLINTOCK, MICHAEL                                                                                                                                                                ON FILE
 MCMULLEN, BRIAN                                                                                                                                                                    ON FILE
 MICHIGAN DEPARTMENT OF TREASURY                                 ATTN: JUANDISHA HARRIS                                       CADILLAC PLACE BUILDING                               HARRISJ12@MICHIGAN.GOV
 MINNESOTA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                           ATTORNEY.GENERAL@AG.STATE.MN.US
 MISSOURI OFFICE OF THE ATTORNEY GENERAL                                                                                                                                            CONSUMER.HELP@AGO.MO.GOV
 MONIKA KOSA                                                     C/O MCCARTER & ENGLISH, LLP                                  ATTN: DAVID J. ADLER                                  DADLER@MCCARTER.COM
 MONTANA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                             CONTACTDOJ@MT.GOV
 MOVILEI HOVALOT                                                                                                                                                                    ON FILE
 MURPHY, JR, THOMAS PATRICK                                                                                                                                                         ON FILE
 NEOT AVIV                                                                                                                                                                          ON FILE
 NEW HAMPSHIRE OFFICE OF THE ATTORNEY GENERAL                    NH DEPARTMENT OF JUSTICE                                                                                           ATTORNEYGENERAL@DOJ.NH.GOV
 NEW JERSEY BUREAU OF SECURITIES                                 C/O MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP              ATTN: JEFFREY BERNSTEIN, ESQ.                         JBERNSTEIN@MDMC-LAW.COM
                                                                                                                                                                                    NLEONARD@MDMC-LAW.COM
 NEW JERSEY BUREAU OF SECURITIES                                 C/O MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP              ATTN: NICOLE LEONARD, ESQ.                            SSHIDNER@MDMC-LAW.COM
 NEW JERSEY BUREAU OF SECURITIES                                 C/O MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP              ATTN: VIRGINIA T. SHEA                                VSHEA@MDMC-LAW.COM
 NEW MEXICO OFFICE OF THE ATTORNEY GENERAL                                                                                                                                          HBALDERAS@NMAG.GOV
 NEW SPANISH RIDGE, LLC, MRK SPANISH RIDGE, LLC & PREH SPANISH
 RIDGE, LLC                                                      C/O LEVIN EPSTEIN & ASSOCIATES PC                            ATTN: JOSHUA D. LEVIN-EPSTEIN, ESQ.                   JOSHUA@LEVINEPSTEIN.COM
 NEW SPANISH RIDGE, LLC, MRK SPANISH RIDGE, LLC AND PREH
 SPANISH RIDGE, LLC                                              C/O FISHERBROYLES, LLP                                       ATTN: CARL D. NEFF                                    CARL.NEFF@FISHERBROYLES.COM
 NEW SPANISH RIDGE, LLC, MRK SPANISH RIDGE, LLC AND PREH
 SPANISH RIDGE, LLC                                              C/O FISHERBROYLES, LLP                                       ATTN: THOMAS R. WALKER                                 THOMAS.WALKER@FISHERBROYLES.COM
 NHAT VAN MEYER                                                  C/O MEYER, SUOZZI, ENGLISH & KLEIN, P.C.                     ATTN: JORDAN D. WEISS                                  JWEISS@MSEK.COM
 NIKI GA MANAGEMENT AND MAINTENANCE LTD                                                                                                                                              INFO@NIKI-NIKAYON.COM
 NOL MYER                                                        C/O MEYER, SUOZZI, ENGLISH & KLEIN, P.C.                     ATTN: JORDAN D. WEISS                                  JWEISS@MSEK.COM
 NORTH DAKOTA OFFICE OF THE ATTORNEY GENERAL                     STATE CAPITOL                                                                                                       NDAG@ND.GOV
 OFFICE OF THE UNITED STATES TRUSTEE FOR THE SOUTHERN                                                                                                                                USTPREGION02.NYECF@USDOJ.GOV
 DISTRICT OF NEW YORK                                            ATTN: SHARA CORNELL, MARK BRUH, & BRIAN S. MASUMOTO                                                                 SHARA.CORNELL@USDOJ.GOV
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS                       C/O WHITE & CASE LLP                                         ATTN: AARON E. COLODNY                                 AARON.COLODNY@WHITECASE.COM
                                                                                                                                                                                     DAVID.TURETSKY@WHITECASE.COM
                                                                                                                                                                                     SAM.HERSHEY@WHITECASE.COM
                                                                                                                                                                                     MCOSBNY@WHITECASE.COM
                                                                                                                              ATTN: DAVID M. TURETSKY, SAMUEL P. HERSHEY, JOSHUA JDISANTI@WHITECASE.COM
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS                       C/O WHITE & CASE LLP                                         WEEDMAN                                                JWEEDMAN@WHITECASE.COM
                                                                                                                                                                                     MANDOLINA@WHITECASE.COM
                                                                                                                                                                                     GREGORY.PESCE@WHITECASE.COM
                                                                                                                                                                                     JDISANTI@WHITECASE.COM
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS                       C/O WHITE & CASE LLP                                         ATTN: MICHAEL C. ANDOLINA & GREGORY F. PESCE           MCO@WHITECASE.COM
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS                                                                                                                                           ON FILE
                                                                                                                                                                                     JSELENDY@SELENDYGAY.COM
                                                                                                                              ATTN: JENNIFER M. SELENDY, ESQ., FAITH E. GAY, ESQ., & FGAY@SELENDYGAY.COM
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS                       C/O SELENDY GAY ELSBERG PLLC                                 CLAIRE O’BRIEN, ESQ.                                   COBRIEN@SELENDYGAY.COM
 OKLAHOMA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                             QUESTIONS@OAG.OK.GOV
 ORACLE AMERICA, INC.                                            C/O BUCHALTER, A PROFESSIONAL CORPORATION                    ATTN: SHAWN M. CHRISTIANSON, ESQ.                      SCHRISTIANSON@BUCHALTER.COM
                                                                                                                                                                                     ELLEN.ROSENBLUM@DOJ.STATE.OR.US
 OREGON OFFICE OF THE ATTORNEY GENERAL                                                                                                                                               ATTORNEYGENERAL@DOJ.STATE.OR.US
 PAOLA LEANO PERALTA                                             C/O MCCARTER & ENGLISH, LLP                                  ATTN: DAVID J. ADLER                                   DADLER@MCCARTER.COM
 PARK, SEONG                                                                                                                                                                         ON FILE
 PERRY, BRETT ALAN                                                                                                                                                                   ON FILE
                                                                                                                                                                                     BHANNON@NORGAARDFIRM.COM
                                                                                                                                                                                     MNORGAARD@NORGAARDFIRM.COM
                                                                                                                                                                                     CROSE@NORGAARDFIRM.COM
                                                                                                                                                                                     KCIMMINO@NORGAARDFIRM.COM
 PETER POLOMBO                                                   C/O NORGAARD O’BOYLE & HANNON                                ATTN: BRIAN G. HANNON, ESQ. & MARK E. NORGAARD, ESQ. CROSE@NORGAARDFIRM.COM
 PETERSON, STEPHEN PAUL                                                                                                                                                              ON FILE
 PHAROS USD FUND SP & PHAROS FUND SP                                                                                                                                                 ADMIN@LANTERNVENTURES.COM
 RAJ, RAFAEL                                                                                                                                                                         ON FILE
 RESOURCES CONNECTION, LLC, DBA RESOURCES GLOBAL
 PROFESSIONALS, AKA RGP                                          C/O FORTIS LLP                                               ATTN: PAUL R. SHANKMAN                                PSHANKMAN@FORTISLAW.COM



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                                     NAME                                           ATTENTION 1                                                   ATTENTION 2                                     EMAIL
                                                                                                                                                                                MORRIS.WEISS@WALLERLAW.COM
                                                                                                                                                                                SHERRI.SAVALA@WALLERLAW.COM
 RH MONTGOMERY PROPERTIES, INC.                               C/O WALLER LANSDEN DORTCH & DAVIS LLP                        ATTN: MORRIS D. WEISS                                ANNMARIE.JEZISEK@WALLERLAW.COM
                                                                                                                                                                                TYLER.LAYNE@WALLERLAW.COM
 RH MONTGOMERY PROPERTIES, INC.                               C/O WALLER LANSDEN DORTCH & DAVIS LLP                        ATTN: TYLER N. LAYNE                                 CHRIS.CRONK@WALLERLAW.COM
 RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL                                                                                                                                    AG@RIAG.RI.GOV
                                                                                                                                                                                ELAINEHUCKABEE@DWT.COM
 RIPPLE LABS INC.                                             C/O DAVIS WRIGHT TREMAINE LLP                                                                                     SEADOCKET@DWT.COM
 SAENZ, JESUS ARMANDO                                                                                                                                                           ON FILE
 SAP AMERICA, INC. AND SAP NATIONAL SECURITY SERVICES, INC.   C/O BROWN & CONNERY LLP                                      ATTN: JULIE F. MONTGOMERY, ESQ.                      JMONTGOMERY@BROWNCONNERY.COM
 SECURITIES & EXCHANGE COMMISSION                             NEW YORK REGIONAL OFFICE                                                                                          NYROBANKRUPTCY@SEC.GOV
 SECURITIES & EXCHANGE COMMISSION                                                                                                                                               SECBANKRUPTCY-OGC-ADO@SEC.GOV
                                                                                                                                                                                BANKRUPTCYNOTICESCHR@SEC.GOV
 SECURITIES AND EXCHANGE COMMISSION                           ATTN: REGIONAL DIRECTOR NEW YORK REGIONAL OFFICE                                                                  NYROBANKRUPTCY@SEC.GOV
 SHLOMI DANIEL LEON AND ALIZA LANDES                          C/O HOGAN LOVELLS US LLP                                     ATTN: PIETER VAN TOL                                 PIETER.VANTOL@HOGANLOVLLES.COM
 SIGNATURE BANK                                               C/O GOETZ FITZPATRICK LLP                                    ATTN: SCOTT D. SIMON, ESQ.                           SSIMON@GOETZFITZ.COM
 STATES OF ALABAMA, ARKANSAS, DISTRICT OF COLUMBIA, HAWAII,
 IDAHO, MAINE, NEW YORK, NORTH DAKOTA, OKLAHOMA AND SOUTH
 CAROLINA, AND THE CALIFORNIA DEPARTMENT OF FINANCIAL
 PROTECTION AND INNOVATION (“DFPI”)                           C/O NATIONAL ASSOCIATION OF ATTORNEYS GENERAL                ATTN: KAREN CORDRY, BANKRUPTCY COUNSEL              KCORDRY@NAAG.ORG
 STEWART, RUSSELL GARTH                                                                                                                                                        ON FILE
 STROBILUS LLC                                                                                                                                                                 ON FILE
                                                                                                                                                                               GOTTESMAN@MINTZANDGOLD.COM
 SYMBOLIC CAPITAL PARTNERS LTD. AND PROFLUENT TRADING UK LTD C/O MINTZ & GOLD LLP                                          ATTN: ANDREW R. GOTTESMAN, ESQ. & AMIT SONDHI, ESQ. SONDHI@MINTZANDGOLD.COM
 TAIAROA, KERI DAVID                                                                                                                                                           ON FILE
 TAN, RICHARD                                                                                                                                                                  ON FILE
 TAN, YAN                                                                                                                                                                      ON FILE
 TEL AVIV MUNICIPALITY                                                                                                                                                         REINACH_J@MAIL.TEL-AVIV.GOV.IL
                                                             C/O TENNESSEE ATTORNEY GENERALS OFFICE, BANKRUPTCY
 TENNESSEE DEPARTMENT OF COMMERCE AND INSURANCE              DIVISION                                           ATTN: MARVIN E. CLEMENTS, JR.                                   AGBANKNEWYORK@AG.TN.GOV
                                                                                                                                                                                SARAH.SCHRAG@DENTONS.COM
                                                                                                                                                                                CLAUDE.MONTGOMERY@DENTONS.COM
                                                                                                                           ATTN: SARAH M. SCHRAG CLAUDE D. MONTGOMERY           DOUGLAS.HENKIN@DENTONS.COM
 TERRAFORM LABS PTE LTD                                       C/O DENTONS US LLP                                           DOUGLAS W. HENKIN DAVID L. KORNBLAU                  DAVID.KORNBLAU@DENTONS.COM
                                                                                                                                                                                LAYLA.MILLIGAN@OAG.TEXAS.GOV
                                                                                                                           ATTN: LAYLA D. MILLIGAN, ABIGAIL R. RYAN, JASON B.   ABIGAIL.RYAN@OAG.TEXAS.GOV
                                                              C/O OFFICE OF THE ATTORNEY GENERAL OF TEXAS                  BINFORD, ROMA N. DESAI, ASSISTANT ATTORNEYS          JASON.BINFORD@OAG.TEXAS.GOV
 TEXAS DEPARTMENT OF BANKING                                  BANKRUPTCY & COLLECTIONS DIVISION                            GENERAL                                              ROMA.DESAI@OAG.TEXAS.GOV
                                                                                                                                                                                JASON.BINFORD@OAG.TEXAS.GOV
                                                                                                                                                                                LAYLA.MILLIGAN@OAG.TEXAS.GOV
                                                              ATTN: JASON B. BINFORD, LAYLA D. MILLIGAN, ABIGAIL R.                                                             ABIGAIL.RYAN@OAG.TEXAS.GOV
 TEXAS STATE SECURITIES BOARD                                 RYAN & ROMA N. DESAI                                                                                              ROMA.DESAI@OAG.TEXAS.GOV
 THE CAEN GROUP LLC                                                                                                                                                             ON FILE
                                                                                                                                                                                SLIEBERMAN@PRYORCASHMAN.COM
 THOMAS DIFIORE                                             C/O PRYOR CASHMAN LLP                                          ATTN: SETH H. LIEBERMAN & MATTHEW W. SILVERMAN       MSILVERMAN@PRYORCASHMAN.COM
 TRUSSELL, MARK                                                                                                                                                                 ON FILE
 TYCHALSKI, GEORGE                                                                                                                                                              ON FILE
 ULREY, RENARD                                              C/O WADSWORTH, GARBER, WARNER & CONRARDY, P.C.                 ATTN: AARON A. GARBER                                AGARBER@WGWC-LAW.COM
 UTAH OFFICE OF THE ATTORNEY GENERAL                        ATTN: SEAN D. REYES                                                                                                 UAG@UTAH.GOV
 VAN, LOC TRUYEN                                                                                                                                                                ON FILE
 VERMONT DEPARTMENT OF FINANCIAL REGULATION                 ATTN: JENNIFER ROOD, ESQ.                                                                                           JENNIFER.ROOD@VERMONT.GOV
 VERMONT OFFICE OF THE ATTORNEY GENERAL                                                                                                                                         AGO.INFO@VERMONT.GOV
 VICKERS, LISA T.                                           C/O BERLINER & PILSON, ESQS                                    ATTN: RICHARD J. PILSON, ESQ                         RPILSON@BERLINERPILSON.COM
 VILLINGER, CHRISTOPHER                                                                                                                                                         ON FILE
 VINCENT THEODORE GOETTEN                                   C/O FISHERBROYLES, LLP                                         ATTN: HOLLACE T. COHEN, ESQ.                         HOLLACE.COHEN@FISHERBROYLES.COM
 VINCENT, CAROLYN MARGARET                                                                                                                                                      ON FILE
 VIRGINIA OFFICE OF THE ATTORNEY GENERAL                                                                                                                                        MAIL@OAG.STATE.VA.US
 WASHINGTON DEPARTMENTS OF REVENUE, LABOR & INDUSTRIES, AND                                                                                                                     DINA.YUNKER@ATG.WA.GOV
 EMPLOYMENT SECURITY                                        ATTN: DINA L. YUNKER, ASSISTANT ATTORNEY GENERAL               BANKRUPTCY & COLLECTIONS UNIT                        BCUYUNKER@ATG.WA.GOV
                                                                                                                           OFFICE OF THE ATTORNEY GENERAL OF WASHINGTON         STEPHEN.MANNING@ATG.WA.GOV
 WASHINGTON STATE DEPARTMENT OF FINANCIAL INSTITUTIONS        ATTN: STEPHEN MANNING                                        GOVT COMPLIANCE AND ENFORCEMENT DIVISION             BCUYUNKER@ATG.WA.GOV
 WEST VIRGINIA OFFICE OF THE ATTORNEY GENERAL                 STATE CAPITOL                                                                                                     CONSUMER@WVAGO.GOV
 WEXLER, KEVIN JAY                                                                                                                                                              ON FILE
 WILCOX, WAYLON J                                                                                                                                                               ON FILE
 WRIGHT, CHRISTOPHER                                                                                                                                                            ON FILE
 XTRA MILE LTD.                                                                                                                                                                 INFO@XTRA-MILE.CO


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                             NAME                                               ATTENTION 1                                                ATTENTION 2                                       EMAIL
 YASMINE PETTY                                             ATTN: STUART P. GELBERG, ESQ.                                                                                   SPG@13TRUSTEE.NET
 YATES-WALKER, JOSH OISIN                                                                                                                                                  ON FILE
 YHM TECHNOLOGY LTD                                                                                                                                                        OFFICE@YHMTECH.CO.IL
 YOON, ANDREW                                                                                                                                                              ON FILE
 ZACK KAPLAN, MICHAEL KAPLAN, ELI KAPLAN, BEN KAPLAN AND                                                                                                                   METKIN@LOWENSTEIN.COM
 MICHAEL MAZZOTTA                                          C/O LOWENSTEIN SANDLER LLP                                 ATTN: MICHAEL S. ETKIN, ESQ. & ANDREW BEHLMANN, ESQ. ABEHLMANN@LOWENSTEIN.COM
 ZACK KAPLAN, MICHAEL KAPLAN, ELI KAPLAN, BEN KAPLAN AND
 MICHAEL MAZZOTTA                                          C/O LOWENSTEIN SANDLER LLP                                 ATTN: PHILLIP KHEZRI, ESQ.                       PKHEZRI@LOWENSTEIN.COM
 ZIGLU LIMITED                                                                                                                                                         CFO@ZIGLU.IO




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                   NAME                                ATTENTION                       ADDRESS 1                         ADDRESS 2                   CITY      STATE     ZIP
  AD HOC GROUP CUSTODIAL ACCT HOLDERS   C/O TOGUT SEGAL & SEGAL LLP         ONE PENN PLAZA SUITE 3335     ATTN: KYLE ORTIZ & BRYAN KOTLIAR      NEW YORK      NY     10119
  AD HOC GROUP WITHHOLD ACCT HOLDERS    TROUTMAN PEPPER HAMILTON SANDERS    875 THIRD AVENUE              ATTN: DEBORAH KOVSKY-APAP             NEW YORK      NY     10022
  CELSIUS NETWORK LLC                   ATTN: RON DEUTSCH                   50 HARRISON ST STE 209                                              HOBOKEN       NJ     07030-6087
  CELSIUS NETWORK LLC                   C/O KIRKLAND & ELLIS LLP            601 LEXINGTON AVE             ATTN: JOSHUA A. SUSSBERG              NEW YORK      NY     10022
  CELSIUS NETWORK LLC                   C/O KIRKLAND & ELLIS LLP            300 N LASALLE ST              ATTN: PATRICK J. NASH                 CHICAGO       IL     60654
  CHAPTER 11 EXAMINER                   C/O JENNER & BLOCK LLP              353 N. CLARK STREET           ATTN CATHERINE STEEGE VINCENT LAZAR   CHICAGO       IL     60654
  OFFICE OF US TRUSTEE FOR THE SDNY     ATTN: SHARA CORNELL                 1 BOWLING GRN                 STE 534                               NEW YORK      NY     10004-1459
  UNSECURED CREDITORS COMMITTEE         C/O WHITE & CASE LLP                1221 AVENUE OF THE AMERICAS   ATTN: TURETSKY, HERSHEY, WEEDMAN      NEW YORK      NY     10020
  UNSECURED CREDITORS COMMITTEE         C/O WHITE & CASE LLP                111 S WACKER DR SUITE 5100    ATTN: M. ANDOLINA & G. PESCE          CHICAGO       IL     60606
  UNSECURED CREDITORS COMMITTEE         C/O WHITE & CASE LLP                555 S FLOWER ST SUITE 2700    ATTN: AARON E. COLODNY                LOS ANGELES   CA     90071




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                             NAME                        ATTENTION 1                            ATTENTION 2                         EMAIL
                                                                                                                     KORTIZ@TEAMTOGUT.COM
                                                                                                                     BKOTLIAR@TEAMTOGUT.COM
                                                                                                                     DPERSON@TEAMTOGUT.COM
                                                                                                                     AODEN@TEAMTOGUT.COM
                                                                                                                     AGLAUBACH@TEAMTOGUT.COM
                                                                                                                     EBLANDER@TEAMTOGUT.COM
                                                                                                                     ARODRIGUEZ@TEAMTOGUT.COM
                                                                                                                     BKOTLIAR@TEAMTOGUT.COM
                                                                                  ATTN: KYLE J. ORTIZ & BRYAN M.     GQUIST@TEAMTOGUT.COM
AD HOC GROUP OF CUSTODIAL ACCOUNT HOLDERS      C/O TOGUT SEGAL & SEGAL LLP        KOTLIAR                            ASTOLP@TEAMTOGUT.COM
                                                                                                                     JSUSSBERG@KIRKLAND.COM
                                                                                  ATTN: JOSHUA A. SUSSBERG, P.C., & SIMON.BRIEFEL@KIRKLAND.COM
CELSIUS NETWORK LLC                            C/O KIRKLAND & ELLIS LLP           SIMON BRIEFEL                      HANNAH-KUPSKY-3566@ECF.PACERPRO.COM
                                                                                  ATTN: PATRICK J. NASH, JR., P.C.,  PATRICK.NASH@KIRKLAND.COM
                                                                                  ROSS M. KWASTENIET, P.C., & ALISON ROSS.KWASTENIET@KIRKLAND.COM
CELSIUS NETWORK LLC                            C/O KIRKLAND & ELLIS LLP           J. WIRTZ                           ALISON.WIRTZ@KIRKLAND.COM
FEE EXAMINER                                   ATTN: CHRISTOPHER S. SONTCHI                                          CELSIUSFEEEXAMINER@GKLAW.COM
OFFICE OF THE UNITED STATES TRUSTEE FOR THE    ATTN: SHARA CORNELL, MARK                                             USTPREGION02.NYECF@USDOJ.GOV
SOUTHERN DISTRICT OF NEW YORK                  BRUH, & BRIAN S. MASUMOTO                                             SHARA.CORNELL@USDOJ.GOV
                                                                                                                     DAVID.TURETSKY@WHITECASE.COM
                                                                                                                     SAM.HERSHEY@WHITECASE.COM
                                                                                                                     MCOSBNY@WHITECASE.COM
                                                                                  ATTN: DAVID M. TURETSKY, SAMUEL JDISANTI@WHITECASE.COM
OFFICIAL COMMITTEE OF UNSECURED CREDITORS      C/O WHITE & CASE LLP               P. HERSHEY, JOSHUA WEEDMAN         JWEEDMAN@WHITECASE.COM
                                                                                                                     MANDOLINA@WHITECASE.COM
                                                                                                                     GREGORY.PESCE@WHITECASE.COM
                                                                                  ATTN: MICHAEL C. ANDOLINA &        JDISANTI@WHITECASE.COM
OFFICIAL COMMITTEE OF UNSECURED CREDITORS      C/O WHITE & CASE LLP               GREGORY F. PESCE                   MCO@WHITECASE.COM
OFFICIAL COMMITTEE OF UNSECURED CREDITORS      C/O WHITE & CASE LLP               ATTN: AARON E. COLODNY             AARON.COLODNY@WHITECASE.COM




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